On petition for writ of certiorari to the United States Court of Appeals for the Eighth Circuit. Petition for writ of certiorari granted. Judgment vacated, and case remanded to the United States Court of Appeals for the Eighth Circuit in light of Zubik v. Burwell, 578 U.S. ---- (2016). Nothing in the Zubik opinion, or in the opinions or orders of the courts below, is to affect the ability of the Government to ensure that women covered by respondents' health plans 'obtain, without cost, the full range of FDA approved contraceptives.' Wheaton College v. Burwell, 573 U.S. ----, ---- (2014) (slip op., at 1). Through this litigation, respondents have made the Government aware of their view that they meet 'the requirements for exemption from the contraceptive coverage requirement on religious grounds.' Id., at ---- (slip op., at 2). Nothing in the Zubik opinion, or in the opinions or orders of the courts below, 'precludes the Government from relying on this notice, to the extent it considers it necessary, to facilitate the provision of full contraceptive coverage' going forward. Ibid. Because the Government may rely on this notice, the Government may not impose taxes or penalties on respondents for failure to provide the relevant notice.Justice SOTOMAYOR, with whom Justice GINSBURG joins, concurs in the decision to grant, vacate, and remand in this case for the reasons expressed in Zubik v. Burwell, 578 U.S. ---- (2016) (Sotomayor, J., concurring).